
PER CURIAM.
Affirmed. See State v. Hubbard, 751 So.2d 552 (Fla.1999); Jones v. State, 640 So.2d 1084 (Fla.1994); McDonald v. State, 133 So.3d 530 (Fla. 2d DCA 2013); Doby v. State, 25 So.3d 598 (Fla. 2d DCA 2009); Hughes v. State, 22 So.3d 132 (Fla. 2d DCA 2009); Waiter v. State, 965 So.2d 861 (Fla. 2d DCA 2007); Khianthalat v. State, 935 So.2d 583 (Fla. 2d DCA 2006); Everette v. State, 640 So.2d 119 (Fla. 2d DCA 1994); Feliciano v. State, 937 So.2d 818 (Fla. 1st DCA 2006); Thomas v. State, 778 So.2d 429 (Fla. 5th DCA 2001).
NORTHCUTT, LaROSE, and SLEET, JJ., Concur.
